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MISSISSIPPI LEGISLATURE                                  REGULAR SESSION 2017

By: Representatives Read, Mims, Arnold,                  To:   Appropriations
Barker, Bennett, Bounds, Brown, Currie,
Gipson, Holland, Mettetal, Myers, Turner,
Watson, Ladner




                                  HOUSE BILL NO. 1513
                                 (As Sent to Governor)


 1         AN ACT MAKING AN APPROPRIATION TO THE DEPARTMENT OF CHILD
 2   PROTECTION SERVICES; AND FOR RELATED PURPOSES, FOR THE FISCAL YEAR
 3   2018.

 4         BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF MISSISSIPPI:

 5         SECTION 1.      The following sum, or so much thereof as may be

 6   necessary, is appropriated out of any money in the State General

 7   Fund not otherwise appropriated, to the Department of Child

 8   Protection Services for the fiscal year beginning July 1, 2017,

 9   and ending June 30, 2018                                   $     97,969,323.00.

10         SECTION 2.      The following sum, or so much thereof as may be

11   necessary, is appropriated out of any money in any special fund in

12   the State Treasury to the credit of the Department of Child

13   Protection Services which is comprised of special source funds

14   collected by or otherwise available to the department for the

15   support of the various divisions of the department, for the

16   purpose of defraying the expenses of the department for the fiscal

17   year beginning July 1, 2017, and ending June 30, 2018

18                                                              $    205,714,244.00.


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19         SECTION 3.      None of the funds appropriated by this act shall

20   be expended for any purpose that is not actually required or

21   necessary for performing any of the powers or duties of the

22   Department of Child Protection Services that are authorized by the

23   Mississippi Constitution of 1890, state or federal law, rules or

24   regulations that implement state or federal law, or lawsuit

25   settlement agreements.

26         SECTION 4.      With the funds appropriated for this budget, the

27   following positions are authorized:

28     AUTHORIZED POSITIONS:

29         Permanent:         Full Time                    1,536

30                            Part Time                         0

31         Time-Limited:      Full Time                       417

32                            Part Time                         0

33         None of the funds herein appropriated shall be used in

34   violation of Internal Revenue Service's Publication 15-A relating

35   to the reporting of income paid to contract employees, as

36   interpreted by the Office of the State Auditor.

37         SECTION 5.      It is the intention of the Legislature that the

38   Department of Child Protection Services shall maintain complete

39   accounting and personnel records related to the expenditure of all

40   funds appropriated under this act and that such records shall be

41   in the same format and level of detail as maintained for Fiscal

42   Year 2017.    It is further the intention of the Legislature that

43   the agency's budget request for Fiscal Year 2019 shall be


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44   submitted to the Joint Legislative Budget Committee in a format

45   and level of detail comparable to the format and level of detail

46   provided during the Fiscal Year 2018 budget request process.

47         SECTION 6.      It is the intention of the Legislature that

48   whenever two (2) or more bids are received by this agency for the

49   purchase of commodities or equipment, and whenever all things

50   stated in such received bids are equal with respect to price,

51   quality and service, the Mississippi Industries for the Blind

52   shall be given preference.       A similar preference shall be given to

53   the Mississippi Industries for the Blind whenever purchases are

54   made without competitive bids.

55         SECTION 7.      The Department of Child Protection Services is

56   authorized to expend available funds on technology or equipment

57   upgrades or replacements when it will generate savings through

58   efficiency or when the savings generated from such upgrades or

59   replacements exceed expenditures thereof.

60         SECTION 8.      Of the funds appropriated in Section 1, it is the

61   intention of the Legislature that Ninety-three Thousand Six

62   Hundred One Dollars ($93,601.00) shall be allocated to the

63   Mississippi Children's Trust Fund supported from General Fund

64   court assessments.

65         SECTION 9.      The money herein appropriated shall be paid by

66   the State Treasurer out of any money in the State Treasury to the

67   credit of the proper fund or funds as set forth in this act, upon

68   warrants issued by the State Fiscal Officer; and the State Fiscal


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69   Officer shall issue his warrants upon requisitions signed by the

70   proper person, officer or officers, in the manner provided by law.

71         SECTION 10.      This act shall take effect and be in force from

72   and after July 1, 2017.




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